        22-10842-dsj   Doc 5-1       Filed 07/14/22 Entered 07/14/22 18:19:20   Exhibit A -
                                      Proposed Order Pg 1 of 2
    


    

                                              ([KLELW$

                                           3URSRVHG2UGHU

                                




                                                  
                                                  
          22-10842-dsj              Doc 5-1             Filed 07/14/22 Entered 07/14/22 18:19:20         Exhibit A -
                                                         Proposed Order Pg 2 of 2
    


                                    ,17+(81,7('67$7(6%$1.5837&<&2857
                                    )257+(6287+(51',675,&72)1(:<25.

                                                                             
        ,QUH                                                                &KDSWHU
                                                                               
                                                                          
        &UpGLWR5HDO6$%GH&962)20(15                         ,QYROXQWDU\&DVH1R '6- 
                                                                             
               3XWDWLYH'HEWRU                                              
                                                                             

                          25'(5*5$17,1*027,212)7+(387$7,9('(%725
                          72',60,667+(,192/817$5<&+$37(53(7,7,21

                8SRQWKH0RWLRQRIWKH3XWDWLYH'HEWRUIRUDQRUGHUGLVPLVVLQJWKHLQYROXQWDU\FKDSWHU

    SHWLWLRQSXUVXDQWWRVHFWLRQV D  D DQG E RIWLWOHRIWKH8QLWHG6WDWHV

    &RGH5XOH E RIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHDQG5XOHV E DQG E RIWKH

    )HGHUDO5XOHVRI%DQNUXSWF\3URFHGXUHWKLV&RXUWKDYLQJIRXQGWKDWSURSHUDQGDGHTXDWHQRWLFH

    RIWKH0RWLRQDQGWKHUHOLHIUHTXHVWHGKHUHLQKDVEHHQSURYLGHGDQGWKDWQRRWKHURUIXUWKHUQRWLFH

    LVQHFHVVDU\DQGWKH&RXUWKDYLQJUHYLHZHGDQGFRQVLGHUHGWKH0RWLRQDQGDOOVXSSRUWLQJSDSHUV

    DQG UHVSRQVHV DQG UHSOLHV WKHUHWR LI DQ\  DQG WKH DUJXPHQW RI WKH SDUWLHV DQG DIWHU GXH

    GHOLEHUDWLRQDQGVXIILFLHQWFDXVHDSSHDULQJWKHUHIRU

    ,7,6+(5(%<25'(5('7+$7

                         7KHUHOLHIUHTXHVWHGLQWKH0RWLRQLVKHUHE\JUDQWHGDVVHWIRUWKKHUHLQ

                         7KLV ,QYROXQWDU\ 3HWLWLRQ LV GHQLHG DQG WKH ,QYROXQWDU\ &DVH LV GLVPLVVHG ZLWK

    SUHMXGLFH

                                                                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                                             7+(+2125$%/('$9,'6-21(6
                                                                          81,7('67$7(6%$1.5837&<-8'*(



    
    
         &DSLWDOL]HGWHUPVXVHGEXWQRWRWKHUZLVHGHILQHGKHUHLQVKDOOKDYHWKHPHDQLQJVDVFULEHGWRWKHPLQWKH0RWLRQ


                                                                     
                                                                     
